Case 1:03-cV-01225-.]DB-tmp Document 29 Filed 05/06/05 Page 1 of 3 Page|D 56

IN THE UNITED STATES DISTRICT COURT `ED H}/\\
FOR THE WESTERN DISTRICT OF TENNESSEE gsm L’"\~<
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ERIC NASH, W_D O; '7¢1$_ D/ST 62
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Plaintiff, KS\ON
v. No. 03-1225-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants .

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

‘QL
IT IS SO ORDERED this é day of May, 2005.

/

. DANIEL BREEN
IT STATES DISTRICT JUDGE

 

 

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Honorable .1. Breen
US DISTRICT COURT

